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 1                                                    THE HONORABLE JAMES L. ROBART
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 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT SEATTLE

10 UNITED STATES OF AMERICA,
                                                    Case No. 2:21-cr-00189-JLR-2
11                           Plaintiffs,            ORDER GRANTING IN PART
12                                                  UNOPPOSED MOTION TO CONTINUE
           v.                                       SENTENCING
13
     AUTUMN GAIL LUNA,
14
                             Defendant.
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17          The Court, having considered Defendant Autumn Gail Luna’s unopposed motion to

18   continue sentencing, and for good caused shown, hereby ORDERS that the motion is

19   GRANTED in part. Sentencing shall be continued until Tuesday, June 13, 2023 at 9:30 a.m.

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21          DATED this 10th day of January, 2023.

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23                                               A
                                               THE HONORABLE JAMES L. ROBART
24                                             UNITED STATES DISTRICT JUDGE
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     ORDER GRANTING UNOPPOSED MTN TO                              MORGAN, LEWIS & BOCKIUS LLP
                                                                               ATTORNEYS AT LAW
     CONTINUE SENTENCING – 1                                            1301 SECOND AVENUE, SUITE 2800
     (Case No. 2:21-cr-00189-JLR-2)                                       SEATTLE, WASHINGTON 98101
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             Case 2:21-cr-00189-JLR Document 41 Filed 01/10/23 Page 2 of 2




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     ORDER GRANTING UNOPPOSED MTN TO                     MORGAN, LEWIS & BOCKIUS LLP
                                                                     ATTORNEYS AT LAW
     CONTINUE SENTENCING – 2                                  1301 SECOND AVENUE, SUITE 2800
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